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 7   CALIFORNIANS FOR
     ALTERNATIVES TO TOXICS
 8
                                  UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10

11   CALIFORNIANS FOR ALTERNATIVES TO                  Case No.: 4:20-cv-01348-YGR
     TOXICS,
12
                            Plaintiff,                 EX PARTE APPLICATION FOR ORDER
13   v.                                                THAT JUDGMENT DEBTORS APPEAR
                                                       FOR EXAMINATION
14   KERNEN CONSTRUCTION CO.,
     BEDROCK INVESTMENTS LLC, SCOTT                    Federal Rule of Civil Procedure 69(b);
15   FARLEY, and KURT KERNEN,                          Local Rule 7-10; California Code of Civil
                                                       Procedure 708.110
16                          Defendants.
                                                       Honorable Yvonne Gonzalez Rogers
17

18

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20
            I.      INTRODUCTION
21
            A money judgment in the amount of $291,975.99, was entered against defendants Kernen
22
     Construction Co., Bedrock Investments, LLC, Scott Farley, and Kurt Kernen on March 21, 2022.
23
     The judgment has not been satisfied. None of the four judgment debtors has been examined
24
     within the last 120 days. Under the applicable Federal Rules, Local Rules, and incorporated
25
     State of California Rules, judgment creditor and plaintiff Californians for Alternatives to Toxics
26
     ("CATs") has a right to apply, ex parte, for an order that each of the four judgment debtors appear
27
     for examination.
28
                Case 4:20-cv-01348-YGR Document 107 Filed 07/21/22 Page 2 of 3




 1          Accordingly, pursuant to Civil Local Rule 7-10, Federal Rule of Civil Procedure 69(a)(2),

 2   and California Code of Civil Procedure 708.110(c), CATs applies, ex parte, for an order,

 3   compelling the four judgment debtors to appear for examination. 1 A proposed order of

 4   examination for each judgment debtor is being submitted with this application.

 5          II.     BACKGROUND

 6          The court issued an award of                               this matter on March 21, 2022.

 7   Docket No. 90. Under Federal Rule of Civil Procedure 58, such an award is treated as a money

 8   judgment, subject to the standard rules of enforcement and collection. A Writ of Execution

 9   (Docket No. 96) and an Abstract of Judgment (Docket No. 101) have been issued on this

10   judgment. Despite correspondence to counsel for the judgment debtors, the judgment has not

11   been paid. Declaration of Andrew L. Packard in Support of Ex Parte Application for Order of

12                                                         at ¶3. On an initial levy of the Writ of

13   Execution, a Memorandum of Garnishment has been returned by the garnishee (Tri-Counties

14                                                        account has been closed. Packard Dec. at ¶4.

15          III.    LEGAL STANDARD

16          Federal Rule of Civil Procedure 69, subsection (a)(2) provides that

17

18   these rules or by the procedure of the state wher

19   procedure of the State of California for the examination of a judgment debtor is set forth in

20   California Code of Civil Procedure Section 708.

21   judgment creditor has not caused the judgment debtor to be examined under this section during

22   the preceding 120 days, the court shall make the order upon ex parte application of the judgment

23                                                                ex parte application be authorized by

24                                                                                          ex parte

25
            1
26             If this matter must be determined by noticed motion, plaintiff submits this memorandum
     and supporting declaration in support of such motion and will file and serve the applicable
27   Notice of Motion once the date and time for such motion has been set by the court. Further,
     plaintiff is willing to conduct these examinations at the courthouse in Oakland, California, the
28   courthouse in McKinleyville, California or by Zoom.
     APP FOR EXAM of JDGMNT DEBTOR                   2                      Case No. 4:20-cv-01348-YGR
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 1   application is expressly provided for by CCP 708.110 as incorporated by FRCP 69.

 2          IV. ARGUMENT

 3                                                             fees was entered on March 21, 2022, more

 4                                                       peatedly requested payment of the judgment.

 5                                                             ich the judgment debtors would be available for

 6   examination. Despite the requests for payment, no payment in any amount has been made by

 7   any judgment debtor. Further, no available dates have been provided for any judgment debtor by

 8   counsel. Packard Dec. at ¶4. Further, an inference can be drawn from the response by a

 9   garnishee in answering a direct effort to enforce the judgment that the judgment debtor may be

10   attempting to hide assets by closing known accounts.

11          California state procedures for enforcing judgments are incorporated into the Federal

12   Rules generally. FRCP 69(a)(1). Concerning the examination of a judgment debtor, Federal

13   Rule of Civil Procedure 69 specifically provides that state discovery procedures can be followed.

14   California Code of Civil Procedure section 708.110 provides that, where no examination has

15   taken place within the last 120 days,                                             ex parte application of

16                                     CCP 708.110 (emphasis added).

17          For the foregoing reasons, plaintiff respectfully requests that the court issue an order for

18   each judgment debtor to appear for examination.

19
20   Dated: July 16, 2022                                LAW OFFICES OF ANDREW L. PACKARD

21                                                By:    /s/ Andrew L. Packard__________________
                                                         Andrew L. Packard
22                                                       Attorneys for Plaintiff
23                                                       Californians for Alternatives to Toxics

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26                     aurel B
                               eeler
               Judge L
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     APP FOR EXAM of JDGMNT DEBTOR                         3                      Case No. 4:20-cv-01348-YGR
